Case 2:16-cv-02106-PSG-SS   Document 1-1   Filed 03/28/16   Page 1 of 7 Page ID
                                   #:44




                  EXHIBIT 1
  3/26/2016   Case 2:16-cv-02106-PSG-SS          Document
                                  Twilio Has Joined              1-1 WithFiled
                                                    The Unicorn Ranks    Stealthy03/28/16
                                                                                 $100 Million RaisePage
                                                                                                    ­ Forbes2 of 7 Page ID
                                                               #:45

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Tech



          Twilio Has Joined
          The Unicorn Ranks
          With Stealthy $100
          Million Raise
          MAY 4, 2015 @ 10:46 PM              15,752 VIEWS

                           Alex Konrad
                           FORBES STAFF 
                           Staff writer for venture capital, startups
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         Twilio is the latest tech startup to join
         the ranks of private companies worth
         at least $1 billion after quietly raising a
         $100 million round of funding, Forbes
         has learned.

         The cloud communications company
         authorized the Series E round of
         funding in April, its first fundraise in
         nearly two years, according to a
         Delaware filing uncovered Monday by
         VC Experts, a private company

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                                                                         Ex. 1, p. 044
3/26/2016   Case 2:16-cv-02106-PSG-SS          Document
                                Twilio Has Joined              1-1 WithFiled
                                                  The Unicorn Ranks    Stealthy03/28/16
                                                                               $100 Million RaisePage
                                                                                                  ­ Forbes3 of 7 Page ID
                                                             #:46
       research firm.

       The documents filed on April 24
                                                                                       NetApp Flash
       authorize 8,841,730 new shares at an                                            Architecture
       issue price of $11.31 per share. At that
       new price, Twilio’s 100 million total                                           Optimize your Storage
       shares outstanding would give the                                               Architecture For the Flash &
       company a post­money valuation of                                               Hybrid Cloud Future
       $1.1 billion. A source with knowledge
       of the funding confirmed the raise put
       Twilio’s valuation past the billion­
       dollar valuation mark.

       It is unknown what new investors, if
       any, have led the investment, and if
       the round has fully closed. Twilio
       declined to comment through a
       spokesperson Monday night.




       The round about doubles Twilio’s
       valuation, as well as the total funding
       the company has raised since
       launching in 2008. A
       range of investors had put $103.7
       million into the company before the
       new raise, including Series D lead
       Redpoint Ventures, Series C co­leads
       Bessemer Venture Partners (which led
       its Series B) and Union Square
       Ventures (which led the Series A). The
       company had formerly been worth
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                                                                       Ex. 1, p. 045
3/26/2016   Case 2:16-cv-02106-PSG-SS          Document
                                Twilio Has Joined              1-1 WithFiled
                                                  The Unicorn Ranks    Stealthy03/28/16
                                                                               $100 Million RaisePage
                                                                                                  ­ Forbes4 of 7 Page ID
                                                             #:47
       about $500 million.

       San Francisco­based Twilio provides
       cloud communication infrastructure to
       businesses so they can interact quickly
       and safely with their own customers.
       That includes Uber, which has used
       Twilio since at least 2013 to handle
       status changes and notifications
       regarding customers’ rides. Enterprise
       collaboration company Box has built a
       two­factor authentication on Twilio,
       while Home Depot HD +0.18% uses the
       Twilio client to communicate with
       customers finding technicians over its
       Redbeacon unit. Other customers
       include eBay EBAY +0.62% , Hulu and Sony
       .


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       The eight­year­old company has been
       tied to rumors of IPO since it last
       raised money in June of 2013. At the
       time, CEO Jeff Lawson had told
       TechCrunch the company didn’t need
       to raise more and that going public
       would be a logical next step. But that

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                                                                       Ex. 1, p. 046
3/26/2016   Case 2:16-cv-02106-PSG-SS          Document
                                Twilio Has Joined              1-1 WithFiled
                                                  The Unicorn Ranks    Stealthy03/28/16
                                                                               $100 Million RaisePage
                                                                                                  ­ Forbes5 of 7 Page ID
                                                             #:48
       was before a shift in tech company
       fundraising made it more attractive for
       late­stage companies to remain private
       longer, finding comparable cash to
       what they could attain on on the
       public markets from additional
       investors without the added scrutiny
       of becoming public. In February,
       Series D investor Scott Raney told the
       Wall Street Journal that Twilio was in
       “no rush to go public.”

       In the same article, Twilio announced
       it had crossed a revenue run rate of
       $100 million in 2014 and was adding
       $1 million in recurring revenue every
       week. Since then, the company
       launched video capability and
       acquired a two­factor authentication
       startup, Authy. More than 500,000
       developers work with Twilio’s APIs.

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                                                                       Ex. 1, p. 047
3/26/2016   Case 2:16-cv-02106-PSG-SS          Document
                                Twilio Has Joined              1-1 WithFiled
                                                  The Unicorn Ranks    Stealthy03/28/16
                                                                               $100 Million RaisePage
                                                                                                  ­ Forbes6 of 7 Page ID
                                                             #:49




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                                                                       Ex. 1, p. 048
3/26/2016   Case 2:16-cv-02106-PSG-SS          Document
                                Twilio Has Joined              1-1 WithFiled
                                                  The Unicorn Ranks    Stealthy03/28/16
                                                                               $100 Million RaisePage
                                                                                                  ­ Forbes7 of 7 Page ID
                                                             #:50




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                                                                       Ex. 1, p. 049
